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FILED

IN THE UNITED STATES DISTRICT COURT MAR 22 ang
FOR THE NORTHERN DISTRICT OF THXAS ~

 

 

FORT WORTH DIVISION en
CLERK, U.S. DISTRICT COURT
By.
UNITED STATES OF AMERICA
Vv. No. 4:19-CR-068-A

WILLIE CLAYTON DAVIDSON (01)

WAIVER OF INDICTMENT
I, Willie Clayton Davidson the above named defendant, who is accused in the
Information with the felony offense of Conspiracy to Possess with Intent to Distribute a
Controlled Substance in violation of 21 U.S.C. § 846 (21 U.S.C. §§ 841(a)C1) and (by )(C),
and being advised of the nature of the charges, the proposed Information, and of my rights,
hereby waive in open court, prosecution by Indictment and consent that the proceeding

may be by Information rather than by Indictment.

 
  

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~ LEIGH DAVIS
Defendant Attorney for Defendant

 

 

 

Affirmed in open Court this a a day of

 

MCBRYDE _

ITED STATES DISTRI@T JUDGE
